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                     EXHIBIT 21
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From:                    Beckham, Renee - HHD
Sent:                    Sunday, October 27, 2019 3:02 PM CDT
To:                      Liliana Guevara
Subject:                 RE: Booking a date
Attachments:             Charitable Guidance Doc-nm (002).pdf, Classes 2019.pdf


Good afternoon Ms. Guevara,

Thank you for your inquiry. The City of Houston parks, including Peggy Point Plaza are no longer
available to charitable feeding. You will need to utilize private property, but make sure you have written
permission.
The next class is November 16 at the Beacon. See the attached calendar for 2019 and contact me if you
want to register to attend.

Thank you,

Renee L. Beckham, RS
Chief Sanitarian
Houston Health Department
Bureau of Consumer Health Services
832-393-5133 (office) | 713-502-0378 (cell)
8000 N. Stadium Drive | Houston, TX 77054
HoustonConsumer.org | Facebook | Twitter
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Houston Health Department (HHD) that is confidential and/or privileged, or may contain Client/Patient privileged
information. If you are not the intended recipient, you are hereby notified that reading, disseminating, distributing or
copying this message is strictly prohibited.




From: Liliana Guevara <guevaral2014@gmail.com>
Sent: Friday, October 25, 2019 4:57 PM
To: Beckham, Renee - HHD <Renee.Beckham@houstontx.gov>
Subject: Fwd: Booking a date

[Message Came from Outside the City of Houston Mail System]


Hello Renee,

We met previously a few years ago when I took the food safety class with you. I was in
contact with Carolyn regarding the food permit before and I wanted to ask you if there is
any place that we can schedule for charitable feeding. I had heard of Peggy's Plaza before




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and was wondering if that is available. Any dates around Thanksgiving would be fine. Also,
can you sign me up for the Safety Class in November 19? Thank you!
- Liliana


---------- Forwarded message ---------
From: Liliana Guevara <guevaral2014@gmail.com>
Date: Thu, Oct 24, 2019 at 12:30 PM
Subject: Booking a date
To: Gray, Carolyn - HHD <Carolyn.Gray@houstontx.gov>


Carolyn,

I hope you are well. I would like to organize a dinner now that Thanksgiving is around the corner. Do you
have any Saturday or Sundays available for November? Even Thanksgiving day is fine. Please let me
know to plan accordingly. Also, my permit will expire this November for Food Safety, is it possible to get
an extension if a date is available? I am signing up for the class this week.

Thank you for all your help :)

On Fri, Nov 20, 2015, 4:45 PM Gray, Carolyn - HHD <Carolyn.Gray@houstontx.gov> wrote:


 Hello Ms. Guervara,

 Hope you are doing well today. Unfortunately, your requested dates of November 22 and 29 for
 charitable feeding have already been taken by other organizations. However, I do have a cancellation
 for Peggy’s Point Plaza at 4240 Main Street, Houston, TX 77002 on November 28, 2015.


 Thank you,


 Carolyn Gray, RS
 Chief Sanitarian
 Retail Food Inspection
 Houston Health Department
 832-393-5131
 713-376-0381 (cell)


 From: Liliana Guevara [mailto:guevaral2014@gmail.com]
 Sent: Tuesday, November 17, 2015 10:49 AM
 To: Gray, Carolyn - HHD
 Cc: Key, Patrick - HHD; Macias, Naomi - HHD; SMore@homelesshouston.org; Wick, Steve - HPD
 Subject: Re: Approved Property Owner Agreement for 205 Chartres




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Hello Mrs. Carolyn!

I hope that you are doing great! Thanksgiving is almost here and like a year ago I would like to have an
event to feed the homeless this year. I know its late notice but I would like to know if there is any
opportunity of reserve the same place as last year as seen on the email below for NOVEMBER 22,
2015? I know I have to fill out and send the paper work for approval but I wanted to see if the date was
available? If not what about Nov 29, 12 to 5 pm? I have my food permit already.

Can you please send me the documents needed to fill out?
Please let me know if this date is available, I apologize for the inconvenience and thank you for your
help.

May god bless you infinitely,
Liliana Guevara


---------- Forwarded message ----------
From: Gray, Carolyn - HHS <Carolyn.Gray@houstontx.gov>
Date: Fri, Dec 5, 2014 at 6:15 PM
Subject: Approved Property Owner Agreement for 205 Chartres
To: "GUEVARAL2014@GMAIL.COM" <GUEVARAL2014@gmail.com>
Cc: "Key, Patrick - HHS" <Patrick.Key@houstontx.gov>, "Macias, Naomi - HHS"
<Naomi.Macias@houstontx.gov>, "SMore@homelesshouston.org" <SMore@homelesshouston.org>,
"Wick, Steve - HPD" <Steve.Wick@houstonpolice.org>

Hello Liliana,

Hope you are doing well today. Attached is the approved property owner agreement for the use of 205
Chartres for charitable feeding activities on December 14, 2014 from 1:00 pm to 5:00. Please take a
copy of this agreement and your food safety certificate with you to the event in case law enforcement
officials should ask to see your documentation. The combination to the lock on the gate is 9898,
Remove the pick up the garbage and trash after the event and take it with you.

Thank you for your service to the community.

Carolyn Gray, RS
Chief Sanitarian
Retail Food Inspection
Houston Department of Health and Human Services
832-393-5131
713-376-0381 (cell)




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